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                    United States Court of Appeals for the Second Circuit
                            Thurgood Marshall U.S. Courthouse
                                      40 Foley Square
                                    New York, NY 10007

DEBRA ANN LIVINGSTON                                           CATHERINE O'HAGAN WOLFE
CHIEF JUDGE                                                    CLERK OF COURT

Date: April 03, 2023                                           DC Docket #: 23-cv-2171
Docket #: 23-467                                               DC Court: SDNY (NEW YORK
Short Title: In re: Voyager Digital Holdings, Inc.             CITY)
                                                               DC Judge: Rearden


                               AMENDED CAPTION NOTICE



As noted on the docket sheet, the caption has been changed. If the brief has been filed, six copies
of a revised brief cover accurately reflecting the change in official caption must be submitted
within 14 days of this notice.

Inquiries regarding this case may be directed to 212-857-8546.
